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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
_________________________________________
                                               )
Illinois Asset Management, LLC                 ) Civil Case No. 19-cv-01912
                                               )
                            Plaintiff,         ) Judge John Z. Lee
                                               ) Magistrate Judge Jeffrey Gilbert
                v.                             )
                                               )
Scott J. Krone,                                )
                           Defendant.          )
                                          ____ )

                 MOTION FOR THE ENTRY OF A JUDGMENT ORDER

Plaintiff Illinois Asset Management, LLC (“IAM”), by its attorneys, Jeffrey C. Blumenthal

Chartered, for its Motion for the Entry of a Judgment Order against Defendant, Scott J. Krone

(“Krone”), alleges as follows:

   1) This motion seeks the entry of a Judgment Order on a Confession of Judgement

       Complaint, which was filed on March 20, 2019 (the “Complaint”). The allegations that

       follow are set forth in the Complaint and form the basis for the request for the entry of the

       Judgment Order.

   2) Attached as Exhibit 1 to this Motion is a copy of IAM’s Complaint for Confession of

       Judgment against Krone.

   3) As alleged in the Complaint, pursuant to the terms of the Non-Recourse Loan Sale

       Agreement, a copy of which is attached as Exhibit D to the Complaint, IAM purchased

       from International Bank of Chicago (“IBC”) a certain commercial loan in the original

       principal amount of $5,600,000.00, known as the “Bradley Loan.”

   4) As alleged in the Complaint, the Bradley Loan is evidenced by the Promissory Note in

       the original principal amount of $5,600,000.00, executed by Scott J Krone and Noel P

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        Cain on June 22, 2016 (the “Promissory Note”), a copy of which is attached to the

        Complaint as Exhibit B.

    5) As alleged in the Complaint, in conjunction with the execution of the Promissory Note,

        and as security for repayment thereof, Krone executed a Commercial Guaranty (the

        “Krone Guaranty”) whereby he personally, absolutely and unconditinally guaranteed full

        payment of the Bradley Loan. A copy of the Commercial Guaranty is attached to the

        Complaint as Exhibit A

    6) As alleged in the Complaint, IAM has performed each of the obligations required of it

        pursuant to the terms of the Promissory Note (attached as Exhibit B to the Complaint)

        and Krone’s Guaranty (attached as Exhibit A to the Complaint) and Krone is in default

        on the Promissory Note and in breach of Krone’s Guaranty to the detriment of IAM.

    7) As alleged in the Complaint, pursuant to the Affidavit of IAM’s President and sole

        member, Abdul Arif (“Arif”), a copy of which is attached to the Complaint as Exhibit E,

        the unpaid amount due under the terms of Scott J. Krone’s Guaranty, as of March 20,

        2019, which is the date the Complaint was filed, is $6,028,246.59.

    8) In Arif’s Affidavit, Arif also attests that he has reviewed the allegations contained in the

        Complaint and believes the same to be true and accurate.

    9) As alleged in the Complaint, the Cognovit of Defendant Scott J. Krone (the “Cognovit”),

        by and through his attorney, Timothy J. Somen, Esq., is attached to the Complaint as

        Exhibit F1




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  The Cognovit and Timothy J. Somen Esquire’s Appearance on behalf of Scott J. Krone, were also independently
filed by attorney Somen and are docketed as docket entries nos. 4 and 5 on the Docket Sheet for this case.


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   10) In the Cognovit, inter alia, Krone, by and through his attorney, Timothy J. Somen

       “confesses that there is due from the Defendant [ Krone] to Plaintiff, ILLINOIS ASSET

       MANAGEMENT, LLC … [the sum of] … $6,028, 246.59.

   11) Set forth as Exhibit G to the Complaint is the proposed Judgment Order that Plaintiff,

       IAM is seeking to have entered. The proposed Judgment Order is also being placed on

       the Judge’s proposed Order web link.

   WHEREFORE, Plaintiff, Illinois Asset Management, LLC, respectfully requests that this

   Court:

   (A) Enter a Judgment Order in favor of Plaintiff, Illinois Asset Management, LLC and

       against Defendant, Scott J. Krone for the sum of $6,028,246.59; and on which Execution

       may issue forthwith; and

   (B) Award such other and further relief that the Court deems just and appropriate under the

       circumstances.


Dated: March 21, 2019                           Respectfully Submitted,
                                                Plaintiff, Illinois Asset
                                                Management, LLC


                                              By: __/s/Jeffrey C. Blumenthal
                                                      Its Attorney
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